








	



				



NUMBER 13-07-562-CR


				

COURT OF APPEALS


			

THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


                                                                                                                       


JOEL ANTHONY RAMOS,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

                                                                                                                       


On appeal from the 24th District Court of Victoria County, Texas.


                                                                                                                       


MEMORANDUM OPINION



Before Chief Justice Valdez and Justices Garza, and Benavides


Memorandum Opinion by Justice Benavides



	On July 29, 2004, Joel Anthony Ramos was indicted for aggravated assault.  Tex.
Penal Code Ann. § 22.02 (Vernon 2005).  He entered into a plea bargain which consisted
of deferred adjudication for seven years, sixty days of jail time, community service, fines
and court costs.  The State of Texas filed its first motion to adjudicate guilt on October 5,
2005.  The State amended amended its motion several times over the next two years.  A
hearing was held on August 20, 2007.  The trial court found that Ramos had violated the
terms and conditions of his deferment, adjudicated his guilt and sentenced him to 25 years
in the Texas Department of Criminal Justice.  

	Ramos's appellate counsel, concluding that "there are no arguable grounds to be
advanced on appeal, "filed an Ander's brief in which he reviewed the merits, or lack
thereof, of the appeal. (1)  We affirm.

I.  DISCUSSION


A.	Compliance with Anders v. California

	Ramos's counsel filed an Anders brief, in which he concludes there is nothing that
merits review on direct appeal.  Id.  Appellant's brief meets the requirements of Anders. 
Id. at 744-45; see High v. State, 573 S.W.2d 807, 812 (Tex. Crim. App. [Panel Op.] 1978). 
In compliance with Anders, counsel presented a professional evaluation of the record and
referred this Court to what, in his opinion, are all issues which might arguably support an
appeal. See Anders, 386 U.S. at 744; Currie v. State, 516 S.W.2d 684, 684 (Tex. Crim.
App. 1974); see also High, 573 S.W.2d at 812. 

	Counsel has informed this Court that he: (1) has diligently read and reviewed the
record and the circumstances of appellant's conviction, including the hearing at which
Ramos entered his plea and the sentencing hearing; (2) believes that there are no
arguable grounds to be advanced on appeal; and (3) forwarded to Ramos a copy of the
brief along with a letter informing Ramos of his right to review the record and to file a pro
se brief.  See Anders, 386 U.S. at 744-45; see also Stafford v. State, 813 S.W.2d 503, 509
(Tex. Crim. App. 1991) (en banc); High, 573 S.W.2d at 813.  No pro se brief has been filed
by Ramos. 

B.	Independent Review

	The United States Supreme Court has advised appellate courts that upon receiving
a "frivolous appeal" brief, they must conduct "a full examination of all the proceedings to
decide whether the case is wholly frivolous."  Penson v. Ohio, 488 U.S. 75, 80 (1988); see
Ybarra v. State, 93 S.W.3d 922, 926 (Tex. App.-Corpus Christi 2003, no pet.). 
Accordingly, we have carefully reviewed the record and have found nothing that would
arguably support an appeal.  See Bledsoe v. State, 178 S.W.3d 824, 826 (Tex. Crim. App.
2005); Stafford, 813 S.W.2d at 509.  We agree with counsel that the appeal is wholly
frivolous and without merit.  See Bledsoe, 178 S.W.3d at 827-28 ("Due to the nature of
Anders briefs, by indicating in the opinion that it considered the issues raised in the briefs
and reviewed the record for reversible error but found none, the court of appeals met the
requirements of Texas Rule of Appellate Procedure 47.1.").

II. CONCLUSION

	The judgment of the trial court is affirmed.  We order counsel to notify appellant of
the disposition of this appeal and the availability of discretionary review.  See Ex parte
Wilson, 956 S.W.2d 25, 27 (Tex. Crim. App. 1997) (per curiam).  Counsel has requested
to withdraw from further representation of Ramos on appeal.  We grant counsel's motion
to withdraw. 


								__________________________

								GINA M. BENAVIDES

								Justice

Do not publish.

See Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and

filed this the 12th day of June, 2008.

	
1.  Anders v. California, 386 U.S. 738, 744 (1967)


